Case 1:19-cv-22601-DPG Document 27 Entered on FLSD Docket 01/22/2020 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION



   ROBERTO ORTIZ,

     Plaintiff,

   v.

   EXPERIAN INFORMATION                                 CASE NO. 1:19-cv-22601-DPG
   SOLUTIONS, INC., TRANSUNION LLC,
   and AMERICAN HONDA FINANCE
   CORPORATION,

     Defendants.


                  NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

         PLEASE TAKE NOTICE that Christina T. Mastrucci of the law firm of Jones Day hereby

  gives notice of her appearance in this case on behalf of Defendant, Experian Information Solutions,

  Inc., and requests service of all notices, pleadings, and other papers filed or served in this case as

  required by the Federal Rules of Civil Procedure or by order of the Court.


  Dated: January 22, 2020                               Respectfully submitted,


                                                        /s/ Christina T. Mastrucci
                                                        Christina T. Mastrucci
                                                        Florida Bar No. 113013
                                                        Email: cmastrucci@jonesday.com
                                                        JONES DAY
                                                        600 Brickell Avenue, Suite 3300
                                                        Miami, FL 33131
                                                        Telephone: (305) 714-9700
                                                        Facsimile: (305) 714-9799

                                                        Attorney for Defendant
                                                        Experian Information Solutions, Inc.
Case 1:19-cv-22601-DPG Document 27 Entered on FLSD Docket 01/22/2020 Page 2 of 2



                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on January 22, 2020, I electronically filed a true and correct

  copy of the foregoing document with the Clerk of the Court by using the CM/ECF system, which

  will send notice of electronic filing to all parties at the email addresses on file with the Clerk of

  Court.


                                                        /s/ Christina T. Mastrucci
                                                        Christina T. Mastrucci

                                                        Attorney for Defendant
                                                        Experian Information Solutions, Inc.




                                                   2
